            Case 8:16-cr-00076-JVS Document 1650 Filed 11/02/21 Page 1 of 6 Page ID #:18963

                                                         United States District Court
                                                         Central District of California


 UNITED STATES OF AMERICA vs.                                                Docket No.             SACR 16-76JVS

 Defendant           Glen M Diamond III                                      Social Security No. 9         0   2     0
 akas:   Glen Melvin Diamond                                                 (Last 4 digits)




                                                                                                                    MONTH      DAY     YEAR
            In the presence of the attorney for the government, the defendant appeared in person on this date.           11     01        21

  COUNSEL                                                             Robert Harmann, Retained
                                                                             (Name of Counsel)

    PLEA             X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO                   NOT
                                                                                                               CONTENDERE               GUILTY
  FINDING             There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
                     Mail Fraud, Aiding and Abetting, in violation of 18 USC Section1341 and 18 USC Section 2(a) as charged in Count 19 of the
                     Indictment.

JUDGMENT             The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/            contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM               Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to the
  ORDER              custody of the Bureau of Prisons to be imprisoned for a term of: ONE DAY (TIME SERVED) on Count 19 of
                     the Indictment

It is ordered that the defendant shall pay to the United States a special assessment of $100, which is due
immediately. Any unpaid balance shall be due during the period of supervision, at the rate of not less than $25 per
quarter.

Pursuant to Guideline § 5E1.2(a), all fines are waived as the Court finds that the defendant has established that
he is unable to pay and is not likely to become able to pay any fine.

Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant, Glen Melvin
Diamond III, is hereby committed on Count 19 of the Indictment to the custody of the Bureau of Prisons for a term
of TIME SERVED (One Day).

Upon release from imprisonment, the defendant shall be placed on supervised release for a term of three (3) years
under the following terms and conditions:

              1. The defendant shall comply with the rules and regulations of the United States Probation & Pretrial
                 Services Office and Second Amended General Order 20-04.

              2.     During the period of community supervision, the defendant shall pay the special assessment in
                     accordance with this judgment's orders pertaining to such payment.



CR-104 (wpd 12/20)                                 JUDGMENT & PROBATION/COMMITMENT ORDER                                                   Page 1 of 6
            Case 8:16-cr-00076-JVS Document 1650 Filed 11/02/21 Page 2 of 6 Page ID #:18964

 USA vs.     Glen M Diamond III                                              Docket No.:       SACR 16-76JVS

              3. The defendant shall not engage, as whole or partial owner, employee or otherwise, in any business
                 involving loan programs, telemarketing activities, investment programs or any other business
                 involving the solicitation of funds or cold-calls to customers without the express approval of the
                 Probation Officer prior to engaging in such employment. Further, the defendant shall provide the
                 Probation Officer with access to any and all business records, client lists, and other records
                 pertaining to the operation of any business owned, in whole or in part, by the defendant, as directed
                 by the Probation Officer.

              4.     The defendant shall cooperate in the collection of a DNA sample from the defendant.

              5. The defendant shall participate for a period of 6 months in a home detention program. The Court
                 waives electronic monitoring.

The drug testing condition mandated by statute is suspended based on the Court's determination that the defendant
poses a low risk of future substance abuse.

On the Government’s motion, all remaining counts are ordered DISMISSED.

Defendant is advised of his appeal rights. Bond is ordered EXONERATED.




 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




            November 1, 2021
            Date                                                  U. S. District Judge James V Selna


 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.



                                                                  Clerk, U.S. District Court




            11/2/21                                         By
            Filed Date                                            Deputy Clerk




CR-104 (wpd 12/20)                            JUDGMENT & PROBATION/COMMITMENT ORDER                                                   Page 2 of 6
            Case 8:16-cr-00076-JVS Document 1650 Filed 11/02/21 Page 3 of 6 Page ID #:18965

 USA vs.     Glen M Diamond III                                                      Docket No.:      SACR 16-76JVS


 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).



                                 STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE



                                  While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant must not commit another federal, state, or local          9.    The defendant must not knowingly associate with any persons engaged
       crime;                                                                        in criminal activity and must not knowingly associate with any person
                                                                                     convicted of a felony unless granted permission to do so by the probation
 2.    The defendant must report to the probation office in the federal              officer. This condition will not apply to intimate family members, unless
       judicial district of residence within 72 hours of imposition of a             the court has completed an individualized review and has determined
       sentence of probation or release from imprisonment, unless                    that the restriction is necessary for protection of the community or
       otherwise directed by the probation officer;                                  rehabilitation;

 3.    The defendant must report to the probation office as instructed by      10.   The defendant must refrain from excessive use of alcohol and must not
       the court or probation officer;                                               purchase, possess, use, distribute, or administer any narcotic or other
                                                                                     controlled substance, or any paraphernalia related to such substances,
 4.    The defendant must not knowingly leave the judicial district                  except as prescribed by a physician;
       without first receiving the permission of the court or probation
       officer;                                                                11.   The defendant must notify the probation officer within 72 hours of being
                                                                                     arrested or questioned by a law enforcement officer;
 5.    The defendant must answer truthfully the inquiries of the probation
       officer, unless legitimately asserting his or her Fifth Amendment       12.   For felony cases, the defendant must not possess a firearm, ammunition,
       right against self-incrimination as to new criminal conduct;                  destructive device, or any other dangerous weapon;

 6.    The defendant must reside at a location approved by the probation       13.   The defendant must not act or enter into any agreement with a law
       officer and must notify the probation officer at least 10 days before         enforcement agency to act as an informant or source without the
       any anticipated change or within 72 hours of an unanticipated                 permission of the court;
       change in residence or persons living in defendant’s residence;
                                                                               14.   The defendant must follow the instructions of the probation officer to
 7.    The defendant must permit the probation officer to contact him or             implement the orders of the court, afford adequate deterrence from
       her at any time at home or elsewhere and must permit confiscation             criminal conduct, protect the public from further crimes of the
       of any contraband prohibited by law or the terms of supervision and           defendant; and provide the defendant with needed educational or
       observed in plain view by the probation officer;                              vocational training, medical care, or other correctional treatment in the
                                                                                     most effective manner.
 8.    The defendant must work at a lawful occupation unless excused by
       the probation officer for schooling, training, or other acceptable
       reasons and must notify the probation officer at least ten days
       before any change in employment or within 72 hours of an
       unanticipated change;




CR-104 (wpd 12/20)                                    JUDGMENT & PROBATION/COMMITMENT ORDER                                                          Page 3 of 6
            Case 8:16-cr-00076-JVS Document 1650 Filed 11/02/21 Page 4 of 6 Page ID #:18966

 USA vs.     Glen M Diamond III                                                   Docket No.:   SACR 16-76JVS


             The defendant must also comply with the following special conditions (set forth below).



 STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS



           The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject
 to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not
 applicable for offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and costs must be paid by certified check
 or money order made payable to “Clerk, U.S. District Court.” Each certified check or money order must include the case name and number.
 Payments must be delivered to:



           United States District Court, Central District of California

           Attn: Fiscal Department

           255 East Temple Street, Room 1178

           Los Angeles, CA 90012



 or such other address as the Court may in future direct.



          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.



          The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).



          The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
 adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C.
 § 3563(a)(7).



           Payments will be applied in the following order:



                     1. Special assessments under 18 U.S.C. § 3013;

                     2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United

                       States is paid):

                                Non-federal victims (individual and corporate),

                                Providers of compensation to non-federal victims,

                                The United States as victim;

                     3. Fine;
CR-104 (wpd 12/20)                              JUDGMENT
                     4. Community restitution, under       & PROBATION/COMMITMENT
                                                     18 U.S.C. § 3663(c); and     ORDER                                                    Page 4 of 6
            Case 8:16-cr-00076-JVS Document 1650 Filed 11/02/21 Page 5 of 6 Page ID #:18967




                                                                     RETURN



 I have executed the within Judgment and Commitment as follows:

 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                      to

      at
      the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.


                                                                     United States Marshal


                                                               By
            Date                                                     Deputy Marshal




                                                                 CERTIFICATE



 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.

                                                                     Clerk, U.S. District Court


                                                               By
            Filed Date                                               Deputy Clerk




                                                FOR U.S. PROBATION OFFICE USE ONLY




CR-104 (wpd 12/20)                              JUDGMENT & PROBATION/COMMITMENT ORDER                                                       Page 5 of 6
            Case 8:16-cr-00076-JVS Document 1650 Filed 11/02/21 Page 6 of 6 Page ID #:18968
 USA vs.     Glen M Diamond III                                                Docket No.:     SACR 16-76JVS

Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.



         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.




         (Signed)

                     Defendant                                                    Date




                     U. S. Probation Officer/Designated Witness                   Date




CR-104 (wpd 12/20)                               JUDGMENT & PROBATION/COMMITMENT ORDER                                                  Page 6 of 6
